                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )      07-00115-03,05,10,12/15-CR-W-NKL
v.                                             )
                                               )
JUAN DELGADO,                                  )
SYLVIA DELGADO,                                )
LUIS MORGAN,                                   )
OMAR VILLAREAL,                                )
JUD, LLC, and                                  )
SANTADELG PROPERTIES, LLC,                     )
                Defendants.                    )

                      MEMORANDUM OF MATTERS DISCUSSED AND
                       ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGE: On April 4, 2007, the Grand Jury returned a nineteen count Indictment
against defendants Fernando Chavez, Jose Estrada, Juan Delgado, Raymond Sparks, Sylvia Delgado,
Jose Canales, Cruz Santa-Anna, Jose Ortega-Gallagos, Carlos Hernandez, Luis Morgan, Ricardo
Ruiz, Omar Villareal, Julian Araiza, JUD, LLC, and Santadelg Properties, LLC.1

        On February 7, 2008, the Grand Jury returned a nineteen count Superseding Indictment
against all of the defendants originally charged in the Indictment, with the exception of Cruz Santa-
Anna, who had already entered a guilty plea. Counts One through Eight of the Superseding
Indictment charge defendants with conspiracy to distribute, possession with intent to distribute, and
distribution of five kilograms or more of a mixture and substance containing a detectable amount of
cocaine. Counts Nine through Nineteen charge defendants with various counts of money laundering.
The Superseding Indictment also seeks forfeiture of property.

The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
      Government: Jane Brown and Gregg Coonrod
      Case Agents: Detective Todd Dolato of the KCMOPD, Special Agent Mike Holder of the
     DEA, and Special Agent Jeff Thomas of the IRS
      Defense: Robert Ramos for defendant Juan Delgado
               Carl Cornwell for defendant Sylvia Delgado, JUD, LLC and Santadelg Properties
               Ron Partee for defendant Luis Morgan
               David Kelly for defendant Omar Villareal


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       Defendants Chavez, Ortega-Gallagos, and Hernandez have warrants outstanding.
Defendants Estrada, Sparks, Canales, Santa-Anna, Ruiz and Araiza have entered guilty pleas.


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OUTSTANDING MOTIONS: None

TRIAL WITNESSES:
      Government: 31 with stipulations;
      Defendants: Juan Delgado may testify, but has no other witness;
      Sylvia Delgado and the corporations, 3-5 witnesses including possibly Sylvia Delgado;
      Omar Villareal may testify, but has no other witnesses;
      Luis Morgan may testify and may call 2-3 total witnesses

TRIAL EXHIBITS
     Government: 319 exhibits
     Defendant: Defendant Morgan may have 3-5 business records; the other defendants do not
     currently anticipate offering any exhibits

DEFENSES: General denial

POSSIBLE DISPOSITION:
           ( X) Definitely for trial; ( ) Possibly for trial; ( ) Likely a plea will be worked out

TRIAL TIME: 8-8 ½ days
     Government’s case including jury selection: 7-8 days. This includes estimated time for cross-
      examination by defense counsel. The government anticipates its direct examinations will take
      4-4 ½ days.
      Defense case: ½ day total for all defendants.

STIPULATIONS: Seventeen stipulations have been reached by the parties.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: Friday before the pretrial conference
       Defense: Friday before the pretrial conference
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday, January 28, 2009
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: None planned

TRIAL SETTING: Criminal jury trial specially set for February 2, 2009.

IT IS SO ORDERED.
                                                       _______/s/_______________________
                                                        SARAH W. HAYS
                                                      UNITED STATES MAGISTRATE JUDGE

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